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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

Samantha Iuliano,                              Case No. 8:22-cv-2299

                  Plaintiff,                   [Removal from the Circuit Court of
                                               the Sixth Judicial Circuit in and for
         v.                                    Pinellas County, Florida, Case No.
                                               22-004262-CI]
UnitedHealth Group, Inc.,

                  Defendant.                   Action Filed: September 2, 2022


                DEFENDANT UNITEDHEALTH GROUP, INC.’S
                        NOTICE OF REMOVAL

         Please take notice that, pursuant to the Class Action Fairness Act of 2005

(“CAFA”), 28 U.S.C. §§ 1332, 1453, and 1711, Defendant UnitedHealth Group,

Inc. (“UnitedHealth” or “Defendant”) hereby removes to the United States District

Court for the Middle District of Florida, Tampa Division, the above-captioned state

court action, originally filed as No. 22-004262-CI in the Sixth Judicial Circuit in

and for Pinellas County, Florida. The court has jurisdiction over this action under

28 U.S.C. § 1332(d) because this civil action is a class action, there is minimal

diversity between the parties, the putative class is comprised of over 100 members,

and the amount that the Complaint places in controversy exceeds the sum or value

of $5,000,000, exclusive of interests and costs. Alternatively, the court also has

jurisdiction under 28 U.S.C. § 1332(a) because there is complete diversity of




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citizenship between the parties and the amount Plaintiff places in controversy with

respect to her individual claim exceeds $75,000.

         In support of this Notice of Removal, the Defendant states as follows:

                          PROCEDURAL BACKGROUND

         1.    On September 2, 2022, Plaintiff Samantha Iuliano (“Plaintiff”) filed a

class action Complaint, individually and on behalf of all others similarly situated,

against Defendant in the Circuit Court of the Sixth Judicial Circuit in and for

Pinellas County, Florida, case number 22-004262-CI (the “State Court Action”).

         2.    On September 8, 2022, Plaintiff served copies of the Summons and

Complaint on UnitedHealth. Copies of these documents, as well as Proof of

Service of Process, are attached hereto as Exhibit A.

         3.    As of this date, no further pleadings have been filed or served in the

State Court Action, and, other than an unopposed motion to extend Defendant’s

deadline to respond to the Complaint to October 28, 2022, no further proceedings

have been conducted in the State Court Action.

         4.    Plaintiff asserts one claim on behalf of herself and a putative class of

all persons in the State of Florida who, on or after July 1, 2021, allegedly received

a telephone call, text message, and/or voicemail transmission regarding

Defendant’s goods and/or services. Compl. ¶¶ 12–20.

         5.    The claim alleged is a violation of the Florida Telephone Solicitation



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Act (“FTSA”), Fla. Stat. § 501.059.

         6.    Plaintiff seeks certification of the putative class, appointment as the

representative of the Class, statutory damages for herself and each member of the

Class, an injunction requiring Defendant cease all “telephonic sales calls” made

without express written consent, an award of attorneys’ fees and court costs, and

such further and other relief as the Court deems necessary.

                               REMOVAL IS TIMELY

         7.    Plaintiff served UnitedHealth on September 8, 2022. Because

Defendant has filed this Notice of Removal within 30 days of the service of the

Summons and receipt of the Complaint, it is timely under 28 U.S.C. § 1446(b).

              THE GROUNDS FOR REMOVAL ARE ESTABLISHED

         8.    This court has subject matter jurisdiction over this action pursuant to

CAFA. 28 U.S.C. § 1332(d).

         9.    Removal under CAFA is proper because: (A) Plaintiff brings this civil

action as a putative class action; (B) minimal diversity exists between Defendant

and Plaintiff; (C) the aggregate number of putative class members alleged on the

face of the Complaint is more than 100; and (D) the amount in controversy alleged

on the face of the Complaint exceeds $5 million in total, exclusive of interest and

costs. 28 U.S.C. §§ 1332(d)(1)–(2), (5)–(6), (8); 1453. Therefore, removal is

proper under 28 U.S.C. § 1441(a).



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         10.   UnitedHealth denies any liability in this case, denies the allegations of

the Complaint, and reserves all rights to oppose class certification and contest the

merits of all claims in the Complaint or any subsequent Complaint. But for

purposes of the jurisdictional requirements for this removal only, the allegations

on the face of Plaintiff’s Complaint meet the requirements for jurisdiction under 28

U.S.C. §1332(d) and demonstrate that Removal to this Court is proper.

A.       Plaintiff’s Civil Action is a Putative Class Action

         11.   Under CAFA, a class action is any civil action filed under a “State

statute or rule of judicial procedure authorizing an action to be brought by 1 or

more representative persons as a class action.” 28 U.S.C. § 1332(d)(1)(B).

         12.   “Plaintiff brings this lawsuit as a class action” under Fla. R. Civ. P.

1.220 – Class Actions. Compl. ¶ 20. Because that rule authorizes an action to be

brought “by one party or more suing or being sued as the representative of all

members of the class,” Fla. R. Civ. P. 1.220(a), this action is a class action for

purposes of determining jurisdiction under 28 U.S.C. §1332(d)(1)(B).

B.       There Is Diversity Of Citizenship Between UnitedHealth and Plaintiff

         13.   CAFA’s minimal diversity of citizenship requirement is met when any

member of the putative class, including the plaintiff, is a citizen of a state different

than any defendant. 28 U.S.C. §1332(d)(2)(A).

         14.   Plaintiff is allegedly a citizen and resident of Florida. Compl. ¶ 12.



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         15.    Defendant is a corporation with citizenship in Delaware, where it is

incorporated, and Minnesota, where it maintains its principal place of business.

Defendant is not a citizen of Florida.

         16.    Because Plaintiff and Defendant are citizens of different states,

CAFA’s minimal diversity requirement is met for purposes of establishing federal

jurisdiction.

C.       There Are More Than 100 Members Alleged in the Putative Class

         17.    Plaintiff’s allegations establish that this action satisfies CAFA’s

requirement that the putative class have 100 members or more. 28 U.S.C. §

1332(d)(5)(B).

         18.    Specifically, while Defendant denies Plaintiff’s allegations, Plaintiff

alleges that “Defendant has placed telephonic sales calls to telephone numbers

belonging to thousands of consumers in Florida,” and that “the Class members

number in the several thousands.” Compl. ¶¶ 21–22. This allegation surpasses the

100-class-member minimum under CAFA. See 28 U.S.C. § 1332(d)(5)(B); see

also Kelly v. State Farm Mut. Auto Ins. Co., 2010 WL 9888731, at *3 (M.D. Fla.

Sept. 23, 2010) (finding this requirement met when “Plaintiffs have alleged in the

[Operative] Complaint that it is believed the class contains more than 1,000

persons, which is well over CAFA’s 100 person requirement.”).

         19.    UnitedHealth does not admit that class treatment is appropriate here,



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but for purposes of removal only, based on Plaintiff’s allegations of “several

thousands” of class members, the proposed class alleged in the Complaint contains

more than 100 members for purposes of establishing this Court’s jurisdiction.

D.       The Amount Plaintiff Places in Controversy Exceeds $5,000,000

         20.   Removal is appropriate under CAFA when the amount in controversy

exceeds $5,000,000, exclusive of interests and costs. 28 U.S.C. § 1332(d)(2).

Plaintiff’s allegations establish that the amount being placed in controversy by the

Complaint is more than $5,000,000.

         21.   The amount in controversy includes the aggregate claims of all

alleged class members, id. at § 1332(d)(6), which Plaintiff alleges is a class of

“several thousands” of people. Compl. at ¶ 21. For purposes of removal, this

allegation suffices to establish jurisdiction, as the “notice of removal need include

only a plausible allegation that the amount in controversy exceeds the jurisdictional

threshold.” Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 89

(2014). Once the plausible allegation has been made, “[t]hat is the end of the

matter, unless ‘the plaintiff contests, or the court questions, the defendant’s

allegation.’” Dudley v. Eli Lilly and Co., 778 F.3d 909, 912 (11th Cir. 2014)

(quoting Dart, 574 U.S. at 89).

         22.   The amount in controversy is “the monetary value that would flow to

the entire class” if the full relief sought “were granted.” South Fla. Wellness, Inc.



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v. Allstate Ins. Co., 745 F.3d 1312, 1316 (11th Cir. 2014). Therefore, applicable to

the amount in controversy calculation here, the putative class alleged in the

Complaint of “several thousands” seeks “[a]n award of statutory damages for

Plaintiff and each member of the Class;” as well as “[a]n award of reasonable

attorney’s fees . . . .” Compl. ¶ 38, Prayer for Relief.

         23.   The putative class seeks more than $5,000,000 in statutory damages

alone. The FTSA permits damages of $1,500 for each offending telephonic sales

call “[i]f the court finds that the defendant willfully or knowingly violated this

section . . . .” Fla. Stat. § 501.059(10); see also South Fla. Wellness, 745 F.3d at

1316 (setting the amount in controversy at the maximum amount of compensation

sought by the class, even though “multiple events,” including additional litigation,

would need to occur in order for the class to recover that amount). Plaintiff alleges

that “Defendant’s violation of Fla. Stat. § 501.059(8)(a) was willful or knowing,”

and that “[a]s a result of Defendant’s conduct, and pursuant to §501.059(10) of the

FTSA, Plaintiff and Class members were aggrieved and are each entitled to recover

damages, costs, and attorney’s fees from Defendant.” Compl. at ¶¶ 37–38.

Plaintiff further asserts that “[i]n violation of the FTSA, Defendant made and/or

knowingly allowed telephonic sales calls to be made to Plaintiff and the Class

members . . . .” Id. at ¶ 35. Therefore, because Plaintiff alleges that Defendant

“willfully or knowingly” made at least one violating call to every class member,



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Plaintiff seeks the full $1,500 in statutory damages available for each allegedly

violating call, so the amount in controversy is at least $1,500 per alleged class

member, before attorney’s fees are even calculated.

         24.   Plaintiff does not allege a precise number of class members, but the

Complaint’s assertion of a putative class with “several thousand” members,

Compl. ¶ 21, “each entitled to recover damages” of at least $1,500, Compl. ¶ 38;

Fla. Stat. § 10(b), makes it “facially apparent from the complaint that the amount in

controversy exceeds the jurisdictional requirement.” Williams v. Best Buy Co.,

Inc., 269 F.3d 1316, 1319 (11th Cir. 2002). “[S]everal thousand” plausibly

indicates that the face of the Complaint is alleging a class of at least 3,500

members, placing the amount of statutory damages in controversy alone at

$5,250,000, even before considering attorneys’ fees. See Desmond v.

Citimortgage, Inc., 2013 WL 12094881, at *1–*2 (S.D. Fla. May 24, 2014)

(finding the $5,000,000 threshold for CAFA jurisdiction met when Plaintiff’s

“proposed class encompasses several thousand members, at a minimum” and

“[s]tatutory damages are at least $1,000 per incident,” while noting that plaintiff’s

seeking of “attorneys’ fees which might be awarded if Plaintiffs are successful . . .

must be considered when addressing the amount in controversy.”).

         25.   Factoring in Plaintiff’s request for attorneys’ fees on behalf of the

putative class confirms the amount in controversy requirement is satisfied. Again,



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Defendant denies that Plaintiff has stated a claim, denies that class treatment is

appropriate, and denies that attorneys’ fees are warranted. But for purposes of

establishing jurisdiction only, it is well established that in the Eleventh “Circuit,

courts typically award between 20-30%, known as the benchmark range” for

attorneys’ fees in class action cases. In re Home Depot, Inc., 931 F.3d 1065, 1076

(11th Cir. 2019). The FTSA also contains an attorneys’ fee provision that allows

the prevailing party to recover reasonable attorneys’ fees and costs. Fla. Stat.

§ 501.059(11)(a).

         26.   Even using an alleged metric of 3,500 class members as set forth

above—the lower end of the “several thousands” of putative class members alleged

in the Complaint, see Desmond, 2013 WL 12094881, at *1–*2—the benchmark

range for attorney’s fees is $1,050,000 using the Eleventh Circuit’s 20% figure.

This must be included as part of the amount in controversy along with the statutory

damages sought, and the $5,000,000 jurisdictional threshold is met for purposes of

28 U.S.C. § 1332(d)(2).

E.       ALTERNATIVELY, THERE IS DIVERSITY JURISDICTION

         27.   Alternatively, the Court has jurisdiction under 28 U.S.C. § 1332(a)

because there is complete diversity between the parties, and the amount in

controversy exceeds $75,000.

         28.   As described above, Plaintiff is allegedly a citizen and resident of



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Florida, and Defendant is a corporation with citizenship in Delaware and

Minnesota, such that Plaintiff and Defendant are citizens of different states and

there is complete diversity of citizenship for purposes of 28 U.S.C. § 1332(a).

         29.      Also as described above, the amount in controversy with respect to

Plaintiff’s individual claim is both the amount of statutory damages that she seeks

for herself, as well as the attorney’s fees that she seeks under §501.059(11) of the

FTSA. The statute provides for reasonable attorney’s fees at the conclusion of the

case for all attorney hours spent on the case. Because the total amount of attorney

time expended on the matter from inception through final judgment will likely

exceed 225 hours, and because this court has previously used $350 per hour as a

metric for the jurisdictional calculation (see Mirras v. Time Ins. Co., 578 F. Supp.

2d 1351, 1353 (M.D. Fla. 2008)), the amount in controversy with respect to

Plaintiff’s individual claim alone exceeds $75,000. See id.; accord Mohammed v.

Geovera Ins. Co., 2022 WL 4730947, at *4 (M.D. Fla. Oct. 3, 2022).

F.       THIS COURT HAS JURISDICTION AND REMOVAL IS PROPER

         30.      Based on the foregoing, this Court has original subject matter

jurisdiction over this action pursuant to 28 U.S.C. § 1332(d) because:

               a. This is a putative class action;

               b. The minimal diversity requirement is satisfied because Plaintiff is a

                  citizen of a state different from UnitedHealth;



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               c. The action involves an alleged putative class of more than 100 call

                  recipients; and

               d. The amount the Complaint places in controversy exceeds $5 million,

                  exclusive of interests and costs.

Accordingly, this action is removable under 28 U.S.C. § 1441.

         31.      Alternatively, this action is removable because the Court has original

subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a) because there is

complete diversity between the parties and the Plaintiff’s individual claim for

statutory damages and attorney’s fees exceeds $75,000.

         32.      The United States District Court for the Middle District of Florida,

Tampa Division is the federal judicial district and division in which the Circuit

Court for Pinellas County sits. Local Rule 1.04(a). Because this action was

originally filed in Pinellas County Circuit Court, removal to this district and

division is proper. Local Rule 1.06(a); see also 28 U.S.C. § 1441(a).

         33.      Pursuant to 28 U.S.C. § 1446(a) and Local Rule 1.06(b), attached as

Exhibit A are true, correct, and legible copies of all papers—including all process,

pleadings and orders—served on Defendant and/or docketed in the State Court

Action.

         34.      Pursuant to 28 U.S.C. § 1446(d), upon filing this Notice of Removal,

UnitedHealth will give written notice to Plaintiff’s counsel and will file a copy of



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this Notice with the Clerk of the Circuit Court of Pinellas County, Florida.



Dated: October 6, 2022                     Respectfully submitted,


                                          By: /s/ David C. Borucke
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                         CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on October 6, 2022, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system and a copy has been

sent via email to Benjamin W. Raslavich, Esq., Kuhn Raslavich, P.A.,

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                                               /s/ David C. Borucke
                                               David C. Borucke
                                               Attorney For Defendant




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